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 Attorney for Petitioner

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,                          Case No. 2:25-cv-01963
                                           (MEF)(MAH)
        Petitioner,
                                           CERTIFICATION OF JEANNE
  v.                                       LOCICERO IN SUPPORT OF PRO
                                           HAC VICE ADMISSION FOR
  WILLIAM JOYCE ET AL.,                    NOOR ZAFAR

        Respondent.




       I, Jeanne LoCicero, hereby certify the following:

       1.    I am an attorney admitted to practice law and a member in good

 standing in the State of New Jersey as well as the Bar of the United States
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 District Cout for the District of New Jersey. I am employed as an Attorney at

 the American Civil Liberties Union of New Jersey Foundation (“ACLU-NJ”)

 and I am counsel for Petitioner Mahmoud Khalil in the above-captioned

 matter.

       2.    I make this certification in support of the motion for pro hac vice

 admission of Noor Zafar, Esq. as counsel for the purpose of representing

 Petitioner in the above captioned matter.

       3.    Ms. Zafar is a member in good standing of the bar of the State of

 New York.

       4.    Pursuant to L. Civ. R. 101.1(c), I understand that all pleadings,

 briefs, stipulations, and other papers filed with the Court shall be signed by me

 or another attorney who is a member of the Bar of this Court. Pursuant to L. Civ.

 R. 101.1(c), Said attorney(s) and I shall be responsible for the conduct of Ms.

 Zafar, should she be admitted by this Court, and present before the Court during

 all phases of these proceedings. Ms. Zafar is associated with me and other local

 co-counsel in the present matter.

       5.    No disciplinary proceedings are pending against Ms. Zafar in any

 jurisdiction and no discipline has previously been imposed on her. I understand

 and have informed Ms. Zafar that if admitted pro hac vice, she will have the

 continuing obligation during the period of such admission to advise the court
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 promptly of a disposition made of pending charges or of the institution of new

 disciplinary proceedings.

 I hereby certify that the foregoing statements made by me are true. I am aware

 that if any of the foregoing statements are willfully false, I am subject to

 punishment.


  Dated: March 21, 2025                           Respectfully Submitted,
                                                  /s/Jeanne LoCicero
                                                  Jeanne LoCicero
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